                                                                  https://outlook.office.com/mail/sentitems/id/AAMkAGEzOTk0MmIyL...
                  Case: 1:19-cv-06766 Document #: 27-2 Filed: 03/19/20 Page 1 of 5 PageID #:75


         Re: Dona Martin v. Mid Central Carrier, Inc. (3937) - written discovery and plaintiff's
         deposition
         John Racanelli <jracanelli@hskolaw.com>
         Wed 3/18/2020 10:21 AM
         To: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Cc: Shimon Kahan <skahan@hskolaw.com>; Felicia Verta <fverta@hskolaw.com>
         Bryan-

         I just called and le a message with your recep onist, as well. Can you please let us know the status
         of plain ﬀ's wri en discovery responses?

         John Racanelli
         Haynes, Studnicka, Kahan & Poulakidas, LLC
         200 W. Adams St., Suite 2175
         Chicago, IL 60606
         (312) 676-7057 [Direct]
         (312) 332-6655 [Fax]


         From: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Sent: Tuesday, February 18, 2020 3:04 PM
         To: Shimon Kahan <skahan@hskolaw.com>
         Cc: John Racanelli <jracanelli@hskolaw.com>
         Subject: Re: Dona Mar n v. Mid Central Carrier, Inc. (3937) - wri en discovery and plain ﬀ's deposi on

         I will get answers done this weekend. I am on a medical malprac ce trial.

         Can we do her dep in April? I will not need any deposi ons, and I have another complex trial star ng
         March 9.


         From: Shimon Kahan <skahan@hskolaw.com>
         Sent: Tuesday, February 18, 2020 2:15 PM
         To: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Cc: John Racanelli <jracanelli@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - wri en discovery and plain ﬀ's deposi on

         Bryan,

         I do not see that we have received plain ﬀ’s answers to interrogatories or response to produc on served in
         late October 2019; am I wrong? Can you have these within 7 days? We also need a ﬁrm date for plain ﬀ’s
         discovery deposi on in March. Are you available to discuss today?

         Shimon Kahan, 312.676.7060

         From: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Sent: Tuesday, January 14, 2020 11:02 AM                                                             EXHIBIT 2


1 of 5                                                                                                            3/18/2020, 10:47 AM
                                                                    https://outlook.office.com/mail/sentitems/id/AAMkAGEzOTk0MmIyL...
                  Case: 1:19-cv-06766 Document #: 27-2 Filed: 03/19/20 Page 2 of 5 PageID #:76
         To: Shimon Kahan <skahan@hskolaw.com>
         Cc: John Racanelli <jracanelli@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - ini al scheduling order

         Sounds good.

         From: Shimon Kahan <skahan@hskolaw.com>
         Sent: Tuesday, January 14, 2020 11:01 AM
         To: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Cc: John Racanelli <jracanelli@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - ini al scheduling order

         Okay, I’ll call him. You will probably need to send him a subpoena for the date/ me we pick. I’d suggest a conf
         room at a law ﬁrm in Birmingham, which is within the 100 miles.

         Shimon

         From: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Sent: Tuesday, January 14, 2020 10:53 AM
         To: Shimon Kahan <skahan@hskolaw.com>
         Cc: John Racanelli <jracanelli@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - ini al scheduling order

         Only dep I need is your driver. I will call Dona as she spends winters in FL. But will obviously come here for her
         dep.

         Thx

         From: Shimon Kahan <skahan@hskolaw.com>
         Sent: Tuesday, January 14, 2020 10:51 AM
         To: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Cc: John Racanelli <jracanelli@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - ini al scheduling order

         Bryan,

         Plain ﬀ’s dep obviously not ready to proceed (tomorrow). Let’s try to set a tenta ve ﬁrm date that you can
         conﬁrm with your client. Let me know which of these dates work:

         Any date March 23-25, 2020 beginning at 1pm. If you need anyone from the defendant, just let me know and I
         can check with them for dates that week as well. They are in Alabama so we should plan in advance for
         cheaper rates on ﬂights unless you are going to do it by phone/conference call. Agency is not an issue.

         Shimon

         From: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Sent: Thursday, January 9, 2020 5:50 PM
         To: Shimon Kahan <skahan@hskolaw.com>
         Cc: John Racanelli <jracanelli@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - ini al scheduling order

         Yes. Thank you!


2 of 5                                                                                                              3/18/2020, 10:47 AM
                                                                    https://outlook.office.com/mail/sentitems/id/AAMkAGEzOTk0MmIyL...
                  Case: 1:19-cv-06766 Document #: 27-2 Filed: 03/19/20 Page 3 of 5 PageID #:77


         From: Shimon Kahan <skahan@hskolaw.com>
         Sent: Thursday, January 9, 2020 5:48 PM
         To: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Cc: John Racanelli <jracanelli@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - ini al scheduling order

         RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - ini al scheduling order
         January 9, 2020

         Bryan,

         Happy 2020. Our scheduling order proposal is due tomorrow for the upcoming cmc. See the a ached. I
         modiﬁed it to reﬂect that Lamar is out of the case. Can this be submi ed by agreement?

         Shimon Kahan

         From: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Sent: Thursday, December 5, 2019 12:16 PM
         To: Shimon Kahan <skahan@hskolaw.com>
         Cc: John Racanelli <jracanelli@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - En re Circuit Court of Cook county Court File

         Perfect; thx

         From: Shimon Kahan <skahan@hskolaw.com>
         Sent: Thursday, December 5, 2019 12:15 PM
         To: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Cc: John Racanelli <jracanelli@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - En re Circuit Court of Cook county Court File

         Bryan,

         Yes, happy to do so but you’ll probably get late in the day or ﬁrst thing a.m. okay?

         Shimon

         From: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Sent: Thursday, December 5, 2019 11:08 AM
         To: Shimon Kahan <skahan@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - En re Circuit Court of Cook county Court File

         Counsel,

         Ms. Mar n is coming to my oﬃce tomorrow. Could you please send the interrogatories you intend to direct to
         her?



         From: Shimon Kahan <skahan@hskolaw.com>
         Sent: Monday, October 28, 2019 9:37 AM
         To: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>



3 of 5                                                                                                            3/18/2020, 10:47 AM
                                                                   https://outlook.office.com/mail/sentitems/id/AAMkAGEzOTk0MmIyL...
                Case: 1:19-cv-06766 Document #: 27-2 Filed: 03/19/20 Page 4 of 5 PageID #:78
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - En re Circuit Court of Cook county Court File



         From: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Sent: Monday, October 21, 2019 4:50 PM
         To: Shimon Kahan <skahan@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - En re Circuit Court of Cook county Court File

         Shimon,
             1. Here is a ﬁled copy of my No ce of Voluntary Dismissal of Defendant Ray.

             2. Also a ached is a dra of Plain ﬀ’s Mandatory Pilot Program Disclosures. I s ll need to discuss it with
                my client.

             3. Let me know a me in the next week or two where we can have a brief Rule 26(f) conference.

         Thx you
         Bryan Jr




         From: Shimon Kahan <skahan@hskolaw.com>
         Sent: Monday, October 21, 2019 2:22 PM
         To: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - En re Circuit Court of Cook county Court File

         You are correct – same coverage; he’s just an addi onal insured. No objec on to the mo on; agency not an
         issue (per our answer).

         From: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Sent: Monday, October 21, 2019 2:03 PM
         To: Felicia Verta <fverta@hskolaw.com>
         Cc: Shimon Kahan <skahan@hskolaw.com>
         Subject: RE: Dona Mar n v. Mid Central Carrier, Inc. (3937) - En re Circuit Court of Cook county Court File

         Counsel,

         Based on your Answer to the Complaint, I am assuming Defendant Mar n is a covered insured under the
         applicable insurance policy? If YES, do you have any objec on to my voluntarily dismissing Defendant Ray
         without prejudice pursuant to Federal Rule 41?

         Thx you
         Bryan Jr

         From: Felicia Verta <fverta@hskolaw.com>
         Sent: Friday, October 18, 2019 10:35 AM
         To: Bryan O'Connor Jr. <bocjr@oconnorlawgrp.com>
         Cc: Shimon Kahan <skahan@hskolaw.com>
         Subject: Dona Mar n v. Mid Central Carrier, Inc. (3937) - En re Circuit Court of Cook county Court File

         Hi Bryan,



4 of 5                                                                                                             3/18/2020, 10:47 AM
                                                                  https://outlook.office.com/mail/sentitems/id/AAMkAGEzOTk0MmIyL...
               Case: 1:19-cv-06766 Document #: 27-2 Filed: 03/19/20 Page 5 of 5 PageID #:79
         A ached is the ﬁled Circuit Court Cook County’s en re court ﬁle.

         Thanks.

         Felicia Verta
         Haynes, Studnicka, Kahan & Poulakidas, LLC
         Assistant to Shimon B. Kahan
         200 West Adams Street, Ste. 2175
         Chicago, IL 60606
         Phone: 312.332.6644, ext. 7050
         Facsimile: 312.332.6655
         fverta@hskolaw.com




5 of 5                                                                                                         3/18/2020, 10:47 AM
